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                    UNITED STATES DISTRICT COURT FOR
                       THE DISTRICT OF NEW JERSEY


 LAURI GORDON,
                                     Civil Action No.
      Plaintiff,

            vs.

 BANK OF AMERICA, N.A.;              COMPLAINT AND JURY DEMAND
 SETERUS, INC.; FEDERAL
 NATIONAL MORTGAGE
 ASSOCIATON; JOHN DOES I-X,

      Defendants.

     Lauri Gordon, of full age, hereby complains of

Defendants as follows:

                           JURISDICTION AND VENUE

1.   Jurisdiction    is    appropriately    laid   in   the   United     States

District Court, District of New Jersey pursuant to 28 U.S.C.

§1331 as the claim in question is based upon a federal statute

and Federal Question Jurisdiction.

2.   Venue is appropriately laid in the District Court of New

Jersey pursuant to 28 U.S.C. §1391(b)(2) as the events giving

rise to the claim occurred substantially within the State of New

Jersey.

                                  PARTIES

3.   Plaintiff     Lauri    Gordon   owns   and    resides    in   the    real

property located at 278 Morse Avenue, Wyckoff, New Jersey.




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4.    Defendant      Bank    of    America,      N.A.    previously           serviced       the

mortgage loan that is the subject of this litigation.                                Bank of

America, N.A. (“BANA”) regularly conducts business in New Jersey

and   maintains      its    headquarters        at   100      N    Tryon      Street      #170,

Charlotte, North Carolina.

5.    Defendant      Seterus,      Inc.     presently       services          the    mortgage

loan that is the subject of this litigation.                                  Seterus, Inc.

(“Seterus”)    maintains          its   principal       location         of    business      in

North Carolina and maintains an agent for service of process in

New Jersey at The Corporation Trust Company 820 Bear Tavern

Road, West Trenton, New Jersey 08628.

6.    Federal National Mortgage Association (“Fannie Mae”) is the

owner   of    the    mortgage        loan   that     is       the       subject      of     this

litigation.         Fannie     Mae      maintains       its       principal         place    of

business at 3900 Wisconsin Avenue NW, Washington, D.C.


                           Facts Common to All Counts

7.    In February, 2007, Plaintiff Lauri Gordon entered into a

refinance mortgage loan agreement with Premier Bank whereby a

promissory note and mortgage were executed by Plaintiff in favor

of Premier Bank.

8.    After    the     loan       closed,       servicing         was    transferred         to

Countrywide Home Loans.

9.    After the loan closed it was sold to Fannie Mae.


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10.    In 2008 Countrywide Home Loans was acquired by and became

part of Bank of America, N.A. and BANA became the servicer of

Plaintiff’s mortgage loan.

11.    BANA serviced the mortgage loan on behalf of owner Fannie

Mae.

12.    Due     to    unforeseen    economic      circumstances,      Plaintiff

incurred an economic hardship in early 2009.

13.    Despite suffering the economic hardship, Plaintiff did not

default on the mortgage loan.             Instead, Plaintiff sold personal

belongings and used her retirement savings to continue paying

the regular principal and interest loan payments of $2,248.31.

14.    While    liquidating      her   retirement    savings    to      pay    the

mortgage     loan,   Plaintiff    began     proactively    contacting    BOA    to

seek loss mitigation assistance.

15.    In or about September, 2009, an employee representative of

BANA told Plaintiff by phone that loss mitigation options would

be available to Plaintiff only if she first defaulted on the

mortgage loan for a minimum of three consecutive months.

16.    Plaintiff relied upon the instructions of the BANA employee

representative and defaulted on the mortgage loan in order to

become eligible for loss mitigation options.

17.    Following      the     instruction       of   the      BANA      employee

representative, Plaintiff did not make the mortgage loan payment

due October 1, 2009, November 1, 2009 and December 1, 2009.

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18.    Simultaneous          to        the   default,          in   late       2009,       Plaintiff

submitted a complete loss mitigation application to BANA.

19.    In   or    about       the       beginning        December,        2009,       an     employee

representative of BANA contacted Plaintiff by phone and advised

that loss mitigation opportunities in the form of a modification

of the loan were available.

20.    The BANA employee representative told Plaintiff that as a

condition of eligibility for the loan modification, Plaintiff

was    required        to     make       a   one-time          payment      of     $2,956.10         as

consideration for review of the loss mitigation application.

21.    Acting      in       reliance         on    the     instruction            of       the     BANA

representative,         on        or     about     December         4,     2009,       Ms.       Gordon

obtained     a    cashier’s            check      from    TD    Bank      in     the    amount       of

$2,956.10 payable to “BAC Home Loans Servicing LP” and sent the

check to BANA.               A copy of the check is hereto                             attached as

Exhibit 1.

       a.      BAC Home Loans Servicing LP is or was a subsidiary of

       BANA.

22.    On or about December 18, 2009, Plaintiff received a phone

call    from      an        employee         representative          of        BANA     confirming

Plaintiff had been approved for a trial loan modification.

       a.        The BANA employee further explained the trial loan

       modification          plan       would     require       Plaintiff        to    make       three



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       monthly payments in the amount of $1,614.17 starting on

       February 1, 2010.

23.    During the December 18, 2009 phone call with Plaintiff, the

BANA employee representative falsely claimed that BANA had not

received Plaintiff’s December 4, 2009 cashier’s check in the

amount of $2,956.10.         BANA demanded that Plaintiff send a second

check in the amount of $2,956.10 to be eligible for the loan

trial modification plan.

24.    Acting in reliance on the representation that BANA did not

receive Plaintiff’s December 4, 2009 cashier’s check, Plaintiff

obtained a subsequent cashier’s check dated December 21, 2009 in

the amount of $2,956.10 payable to “BAC Home Loan Service LP.” A

copy   of    the   December    21,   2009    check   is    hereto   attached   as

Exhibit 2.

25.    Despite claiming not to have received Plaintiff’s December

4, 2009 cashier’s check, BANA deposited both the December 4,

2009 check and the December 21, 2009 check.

26.    In late December 2009, BANA provided Ms. Gordon a written

“HOME AFFORDABLE MODIFICATION PROGRAM TRIAL PERIOD PLAN” (“Trial

Modification       Agreement”).      A   copy   of   the   Trial    Modification

Agreement is hereto attached as Exhibit 3.

27.    The   Trial     Modification      Agreement     memorialized     certain

representations       made    by   the   BANA   representatives      earlier   in

December 2009.

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28.   In    relevant   part,    the       Trial   Modification   Agreement

provided:

            If I am in compliance with this Trial Period Plan
            (the “Plan”) and my representations in Section 1
            continue to be true in all material respects,
            then the Servicer will provide me with a Home
            Affordable Modification Agreement (“Modification
            Agreement”), as set forth in Section 3, that
            would amend and supplement (1) the Mortgage on
            the Property, and (2) the Note secured by the
            mortgage.
            . . .

            1.   My Representations.        I certify, represent to
                 Servicer and agree:

             A. I am unable to afford my mortgage payments
             for the reasons indicated in my Hardship
             Affidavit and as a result, (i) I am either in
             default or believe I will be in default under
             the Loan Documents in the near future, and (ii)
             I do not have sufficient income or access to
             sufficient liquid assets to make the monthly
             mortgage payments now or in the near future;
             B. I live in the Property as my principal
             residence, and the Property       has not been
             condemned;
             C. There has been no change in the ownership of
             the property since I signed the loan documents;
             D. I am providing or already have provided
             documentation for all income that I receive (and
             I understand that I am not required to disclose
             any child support or alimony that I receive,
             unless I wish to have such income considered to
             qualify for the offer);
             E. Under penalty of perjury, all documents and
             information I have provided to Servicer pursuant
             to this Plan, including the documents and
             information regarding my eligibility for the
             program are true and correct; and
             F. If servicer requires me to obtain credit
             counseling, I will do so.




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29.     Plaintiff     signed      the     Trial       Modification     Agreement       and

returned it to BANA in the manner and time required.

30.    During all relevant times, Plaintiff’s representations as

made    under     Section     1     of    the      Trial    Modification       Agreement

remained true.

31.    Section two of the Trial Modification Agreement required

Plaintiff    to    make     three    payments        of    $1,614.17      on   or   before

February 1, March 1 and April 1, 2010.

32.    Plaintiff Ms. Gordon duly made all three required payments.

       a.    Plaintiff      issued       the       check   for   the   February       2010

       payment on December 18, 2009 after speaking with the BANA

       employee representative.                A copy of the check and date of

       deposit is hereto attached as Exhibit 4.

       b.    Plaintiff issued the check for the March 2010 payment

       on February 24, 2010 on check number 319.                       A copy of the

       check and proof of deposit is hereto attached as Exhibit 5.

       c.    Plaintiff issued the check for the April 2010 payment

       on or about March 23, 2010 on check number 330.                         A copy of

       the   check    and    proof       of    deposit     is    hereto    attached    as

       Exhibit 6.

33.    Plaintiff met all the conditions of the Trial Modification

Agreement    and     her    financial         circumstances      did   not     materially

change during the period of the Trial Modification Agreement.



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34.   Despite Plaintiff’s full compliance with the terms of the

Trial Period Plan, BOA did not provide Plaintiff a Permanent

Modification Agreement as referenced in the Trial Modification

Agreement.

35.   Plaintiff made additional payments for May, June, and July

2010, each in the amounts of $1,614.17.

36.   In total, Plaintiff paid BANA $15,597.22 in connection with

the Trial Modification Agreement.

37.   Despite   Plaintiff’s    complete   compliance    with    the   Trial

Modification    Agreement,    BANA   refused   to   provide    Plaintiff   a

Permanent Modification Agreement.

38.   By letter dated June 3, 2010 BANA wrote to Plaintiff:

             We have reviewed your request for a loan
             modification under the federal government’s Home
             Affordable Modification Program.    Unfortunately,
             your loan is not eligible for a Home Affordable
             Modification for the reason stated below:
             ……

             Excessive Forbearance. Your loan is not eligible
             for a Home Affordable Modification because we are
             unable to create an affordable payment equal to
             31% of your reported monthly gross income without
             changing the terms of your loan beyond the
             requirements of the program. In other words, to
             create an affordable payment for you, the
             investor (owner) of your loan would be required
             to delay collecting too large a portion of your
             principal balance until the loan pays off, beyond
             what the Home Affordable Modification Program
             allows.

39.   A copy of the June 3, 2010 letter is attached hereto as

Exhibit 7.

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40.   “Excessive    Forbearance”      is    not   a    basis    for   denying

Plaintiff a Permanent Modification Agreement under the terms of

the Trial Modification Agreement.

41.   On May 19, 2014, BANA commenced debt collection foreclosure

litigation under New Jersey docket F-019812-14.                The litigation

is ongoing at this time.

42.   On or about April 1, 2015 servicing of the mortgage loan

transferred from BANA to Seterus.



                                  COUNT I

                            BREACH OF CONTRACT

43.   Plaintiff reincorporates by reference all allegations set

forth elsewhere in the complaint as if repeated herein.

44.   As agent and loan servicer for Fannie Mae, BANA offered

Plaintiff a Trial Modification Agreement in December 2009.

45.   The Trial Modification Agreement marked Exhibit 3 to this

Complaint is a contract.

46.   Plaintiff relied upon the contract as drafted by BANA.

47.   Plaintiff complied with all terms of the Trial Modification

Agreement.

48.   Plaintiff    made   each   of   the   required   payments    under   the

Trial Modification Agreement.




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49.    Plaintiff’s     representations        in     Section      1    of    the   Trial

Modification Agreement remained true in all material respects at

all relevant times.

50.    As   consideration     for    the     Trial     Modification          Agreement,

Plaintiff paid BANA $15,597.22 between December 2009 and July

2010.

51.    As   consideration     for    the     Trial     Modification          Agreement,

Plaintiff        provided   BANA    with     all       financial       and      personal

documentation requested by the loan servicer.

52.    Despite      Plaintiff’s     performance        on   the       contract,     BANA

refused     to    provide   Plaintiff      with    a     Permanent          Modification

Agreement.

53.    Despite Plaintiff’s performance on the contract, Fannie Mae

refused     to    provide   Plaintiff      with    a     Permanent          Modification

Agreement.

54.    BANA   and    Fannie   Mae    breached      the      terms      of    the   Trial

Modification Agreement by refusing to provide Plaintiff with a

Home Affordable Modification Agreement as described in the Trial

Modification Agreement.

55.    Seterus is successor in interest to BANA in relation to all

loan    servicing       matters     including        the     Trial          Modification

Agreement.       Seterus stands in place of BANA and was obligated to

comply with the Trial Modification Agreement.



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56.   Seterus obtained actual knowledge of the Trial Modification

Agreement     when     it   obtained     the     loan   servicing          file     and

accompanying documents from BANA.

57.   Since taking over servicing of the mortgage loan from BANA,

Seterus     has      refused    to     provide      Plaintiff        a     Permanent

Modification Agreement.

58.   Seterus has breached the terms of the Trial Modification

Agreement     by     refusing   to     provide      Plaintiff    with        a     Home

Affordable       Modification   Agreement      as   described    in       the     Trial

Modification Agreement.

59.   The June 3, 2010 letter marked Exhibit 7 constitutes a

breach of the Trial Modification Agreement.

60.   The June 3, 2010 letter states that Plaintiff is not being

provided     a     Permanent    Modification         Agreement           because     of

“Excessive Forbearance.”

61.   The Trial Modification Agreement does not permit denial of

a     Permanent      Modification       Agreement       due     to        “Excessive

Forbearance.”

62.   The Trial Modification Agreement states that so long as

Plaintiff complies with the terms of the contract a Permanent

Modification Agreement will be provided.

63.   Plaintiff complied with all terms of the Trial Modification

Agreement and was entitled by contract to receive a Permanent

Modification Agreement.

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64.    The   conduct        of    each   Defendant   constitutes       a   breach   of

contract.

65.    As    a   result      of    the   Defendants’   conduct     Plaintiff        has

suffered damages.

66.    Plaintiff’s damages include payment of $15,597.22 pursuant

to and as consideration for the Trial Modification Agreement,

counsel fees, costs of suit, time lost from work and damage to

Plaintiff’s credit.

67.    Plaintiff is entitled to recover of damages resulting from

the wrongful conduct of each of the Defendants.



                                         COUNT II

                 VIOLATION OF NEW JERSEY CONSUMER FRAUD ACT

                                  (BANA, Fannie Mae)

68.     Plaintiff reincorporates by reference all allegations set

forth elsewhere in the complaint as if repeated herein.

69.    Plaintiff is a “person” as defined N.J.S.A. 56:8-1(d).

70.    Defendants are “persons” as defined by N.J.S.A. 56:8-1(d).

71.    The Trial Modification Agreement constituted an extension

of    credit     and   is    a    transaction    covered   by    the       New   Jersey

Consumer Fraud Act.

72.    In relation to its dealings with Plaintiff, BANA and Fannie

Mae engaged in one or more unconscionable commercial practices

as defined by N.J.S.A. §56:8-2.

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73.   The conduct in question was committed by BANA as agent for

Fannie     Mae   and   on     information        and    belief,    at    the     direction

and/or instruction of Fannie Mae.

74.   The   acts     of     BANA   and    Fannie       Mae   prohibited     by    the   New

Jersey Consumer Fraud Act include but are not limited to the

following:

      a.     BANA acting on behalf of Fannie Mae, induced Plaintiff

      to default on the mortgage loan by promising that a loan

      modification         would   be     made    available       once   the     loan   was

      three months late.

      b.     BANA      and/or      Fannie        Mae    deposited        $15,597.22       of

      Plaintiff’s money but failed to apply the funds properly to

      Plaintiff’s account.

      c.     BANA and/or Fannie Mae induced Plaintiff to enter into

      a    Trial    Loan     Modification         Agreement       contract       and    make

      payments on the loan modification contract which were not

      properly credited to the account.

      d.     BANA,        acting     on    behalf       of    Fannie      Mae,     induced

      Plaintiff        to     make        payments       under     the     Trial        loan

      Modification Agreement contract by falsely promising that

      upon completion the loan would be permanently modified.

75.   Ms. Gordon reasonably relied upon the aforesaid concealment

and/or omissions and/or misrepresentations of material fact to



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her   detriment     and    paid       substantial   sums   of      money    under      her

reasonable reliance.

76.   The    aforesaid        misrepresentations       were        material      to    the

transaction at issue.

77.   As a result of the unconscionable conduct by BANA and/or

Fannie Mae, the Plaintiff has suffered injury including but not

limited to monetary loss, damage to credit score, loss of equity

in her home, and economic loss associated with counsel fees

incurred defending a frivolous foreclosure lawsuit and efforts

to collect money not owed by Plaintiff.

78.   In    light   of    the    aforesaid,     defendants      violated      N.J.S.A.

56:8-1, et seq.

79.   Plaintiff     seeks       all    relief   afforded      by     the   New    Jersey

Consumer Fraud Act including trebled damages, attorney fees and

equitable relief as contemplated by the applicable statute.



                                  COUNT III

      Violation of the Fair Debt Collection Practices Act

                                  (Seterus)

80.   Plaintiff reincorporates by reference all allegations set

forth elsewhere in the complaint as if repeated herein.

81.   Plaintiff     is    a   consumer     as   that   term     is    defined     by    15

U.S.C. §1692a(3).



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82.   The mortgage loan that is the subject of this litigation is

a debt as that term is defined by 15 U.S.C. §1692a(5).

83.   Defendant    Seterus    is   a   debt   collector    as   that   term   is

defined by 15 U.S.C. §1692a(6).

84.   Seterus violated 15 U.S.C. §1692e by using false, deceptive

and/or misleading representations or means in connection with

the collection of a debt.

85.   Seterus sent a letter dated February 18, 2016 to Plaintiff,

care of her attorneys.        A copy of the letter is hereto attached

as Exhibit 7.

86.   The February 18 letter is a communication as that term is

defined by 15 U.S.C. §1692a(2).

87.   The February 18 letter was sent to Plaintiff in connection

with the collection of a debt.

88.   The February 18 letter provides a reinstatement figure and

accounting of sums       Seterus seeks to collect on the mortgage

loan.

89.   The February 17 letter provides Plaintiff instructions on

how to make payment on the mortgage loan.

90.   The    February    17    letter       includes   a    disclosure:“THIS

COMMUNICATION IS FROM A DEBT COLLECTOR AS WE SOMETIMES ACT AS A

DEBT COLLECTOR.       WE ARE ATTEMPTING TO COLLECT A DEBT AND ANY

INFORMATION OBTAINED WILL BE USED FOR THAT PURPOSE.”



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91.   Page   8    of     the   payoff   statement       includes    a    demand     for

Plaintiff    to    pay    $390.00   for      property    inspections.         Seterus

demands that Plaintiff pay $15 for each of 26 separate property

inspections that allegedly took place on April 9, 2015.

92.   Seterus’ claim that 26 property inspections took place on

April 9 is false, deceptive and/or misleading.

93.   Seterus’ claim that 26 property inspections took place on

April 9 and that Plaintiff must pay for the inspections is a

false representation of the character, amount or legal status of

the debt as prohibited by 15 U.S.C. §1692e(2).

94.   Seterus’ claim that 26 property inspections took place on

April 9 and that Plaintiff must pay for the inspections a use of

false representation or deceptive means to collect or attempt to

collect a debt as prohibited by 15 U.S.C. §1692e(10).

95.   On information and belief, the February 17 letter contains

additional charges for fees not incurred by Seterus or the owner

of the loan, Fannie Mae.

96.   The wrongdoing identified in this Complaint is intended to

place   Defendants       on    notice   of     their    actions    and   is   not    an

exhaustive       list     of   wrongdoing.         It     is   anticipated        that

additional violations of the Fair Debt Collection Practices Act

will be discovered during discovery.

97.   As a result of the actions of Seterus, Plaintiff suffered

damages.

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98.   As   a    result   of   the   actions   of   Seterus,   Plaintiff   is

entitled to all relief under 15 U.S.C. §1692k including but not

limited to statutory damages, actual damages, attorney fees and

costs of suit.



       WHEREFORE, PLAINTIFF demands:

      a.       Compensatory Damages

      b.       Punitive Damages

      c.       Statutory Damages

      d.       Restitution

      e.       Injunctive Relief

      f.       Attorney fees and costs

      g.       All other relief this Court determines to be just and

      fair.

                              JURY TRIAL DEMAND

       Plaintiff hereby demands a trial by jury and will not be

satisfied with fewer than six jury members.

                                           DENBEAUX & DENBEAUX
                                           ATTORNEYS FOR PLAINTIFF

May 25, 2016                               Adam Deutsch, Esq.
                                           /s/ Adam Deutsch
                                           DENBEAUX & DENBEAUX

                                           /S/ Nima Ashtyani
                                           Nima Ashtyani, Esq.
                                           DENBEAUX & DENBEAUX




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